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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

EZRA SHIMSHI; PERSONS                 :
SIMILARLY SITUATED, who may join :
as parties,                           :
                                      :
       Plaintiff,                     :
                                      :
       v.                             :
                                      :
CATHY COX, SECRETARY OF STATE :                 CIVIL ACTION FILE NO.
OF GEORGIA, in her official capacity; :         1:06-CV-2371
REPRESENTATIVES OF THE                :
GEORGIA HOUSE OF                      :
REPRESENTATIVES, in their official :
capacity; SENATORS OF THE             :
GEORGIA SENTATE, in their official :
capacity; THE GOVERNOR OF THE         :
STATE OF GEORGIA, in his official     :
capacity; MEMBERS OF THE STATE :
ELECTION BOARD, in their official     :
capacity,                             :
                                      :
              Defendants.             :
                                      :


               BRIEF IN SUPPORT OF MOTION TO DISMISS
                   ON BEHALF OF THE DEFENDANTS

      In his lawsuit, Plaintiff seeks to declare unconstitutional a fundamental

feature of American democracy. Plaintiff argues that all voters should have the

right to vote for an unlimited number of candidates for each particular office on the

ballot. Plaintiff’s pleading is almost completely devoid of fact and consists almost
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entirely of Plaintiff’s abstract hypotheticals and musings. Plaintiff does not allege

that voters are prevented from voting for the candidates of their choice, or that

certain classes of voters are treated differently than others, but instead speculates

that some voters may refrain from voting because they perceive that their candidate

of choice has very little chance of winning the election. Plaintiff proclaims that he

and other voters have been prevented from voting in free and fair elections solely

because he is not entitled to vote for more than one candidate per office, but fails to

specify exactly why the current system is unfair; fails to specify how his proposed

solution would correct the alleged injustice; and fails to demonstrate that his

proposed solution would even be feasible. In short, Plaintiff is attempting to use

the court system for social engineering and experimentation that is solely the realm

of the legislature.

       Thus, Plaintiff’s Complaint is patently frivolous and should be dismissed

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure because it is

clear on its face that he can prove no facts that would entitle him to relief. Conley

v. Gibson, 355 U.S. 41, 45-46 (1957); accord Duke v. Cleland, 5 F.3d 1399, 1402

(11th Cir. 1993); McKusick v. City of Melbourne, 96 F.3d 478 (11th Cir. 1996).




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      A.     Plaintiff’s Complaint Should Be Dismissed Because He Lacks
             Standing to Bring Suit.

      Standing is essential to the “case or controversy” requirement of Article III

of the U.S. Constitution. See e.g., Lujan v. Defenders of Wildlife, 504 U.S. 555,

560 (1992); Warth v. Seldin, 422 U.S. 490 (1975). In order to have standing, a

litigant first must have suffered an injury in fact. U.S. v. Hayes, 515 U.S. 737, 742

(1995). An injury in fact is an invasion of a legally protected interest that is “(a)

concrete and particularized, and (b) actual or imminent, not conjectural or

hypothetical.” Id. Second, the litigant must demonstrate a causal connection

between the injury and the conduct in question. Id. Third, the litigant must

demonstrate that it is “likely, as opposed to merely speculative, that the injury will

be redressed by a favorable decision.” Id. Finally, the U.S. Supreme Court has

made clear that litigants who merely have generalized grievances against alleged

illegal government conduct do not have standing. Id.

      Based on this authority, Plaintiff does not have standing to bring this suit

even under the most expansive interpretation of the meager facts presented in his

Complaint. Plaintiff has not alleged a discrete and palpable injury, but instead

seeks to restructure the voting system statewide, making nebulous claims that the

current system violates his constitutional rights. He does not specify whether he

has been injured by the current voting system and does not name other individuals




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who have been injured by Georgia’s current system of voting. Nor does he

identify any particular election result that he believes to be faulty, providing the

Court with very little information with which to even analyze his claim.

Additionally, Plaintiff has not identified the particular statute or actions taken by

the Defendants to cause the alleged violation, rendering any analysis of whether a

causal connection exists to the alleged injury impossible.

      Finally, Plaintiff has failed to present facts to show that his requested relief

would address the concerns he has raised, making several faulty assumptions.

Plaintiff merely speculates, without providing any facts in support, that some

voters may vote if the voting system were changed and that the outcomes of

American elections may be different if the system were changed. Plaintiff assumes

that many voters base their decision to vote on their own perceptions of their

preferred candidate’s chances of winning. Plaintiff further assumes that the current

voting system prevents candidates from winning without a majority of support

from the American people.

      Since it is apparent from the face of the Complaint that Plaintiff has no

standing to bring this suit, his action should be dismissed.

      B.     Georgia’s Current Voting System is Constitutional

      Even if Plaintiff did have standing to bring suit against Defendants, he can

not demonstrate that Georgia’s current voting system violates the Fourteenth,



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Fifteenth and Nineteenth Amendments to the U.S. Constitution as he claims.

Plaintiff’s allegations regarding the current voting system are properly analyzed

using a rational basis review. His claims must fail under a rational basis review.

In fact, his arguments would not be meritorious even if a strict scrutiny analysis

were employed in analyzing Georgia’s voting system.

             1.     The Georgia Voting System is Subject to a Rational Basis
                    Review.

      Though in illustrating his arguments, Plaintiff uses the example of an

“American Moslem female of Chinese origin, his arguments could apply to voters

who are not members of protected classes. It is not clear whether Plaintiff seeks to

limit his arguments to voters who are members of protected classes. Further,

Plaintiff has not identified a fundamental right that has been infringed by Georgia’s

voting system, since voters can not assert a fundamental right to being guaranteed

that the candidate of their choice, or to being assured that their leaders are elected

with a majority rather than a plurality of the vote. See Joel v. City of Orlando, 232

F.3d 1353, 1357 (11th Cir. 2000), cert. denied, 532 U.S. 978 (2001) (citing

Bannun, Inc. v. City of Fort Lauderdale, 157 F.3d 819, 822 (11th Cir. 1998)).

Thus, since Plaintiff has not alleged that he is a member of a protected class, has

not even identified a protected class that is disparately affected by the current

voting system in Georgia, and cannot claim infringement of a fundamental right,



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this Court must apply a rational basis test in analyzing equal protection claims

relating to the current voting system. Id.

      In analyzing equal protection claims, the Court must determine whether the

challenged law was taken pursuant to a legitimate government purpose. Joel, 232

F.3d at 1358. Next, the Court must determine whether a rational basis exists for

the legislation. Id. The legislation survives rational basis scrutiny as long as the

reasons for the legislation “may have been considered true, and the relationship

between the classification and the goal is not so attenuated as to render the

distinction arbitrary or irrational.” Joel at 1358, quoting Haves v. City of Miami,

52 F.3d 918, 921-22 (11th Cir. 1995).

      Further, it should be noted that in applying the rational basis analysis, a

statute is “entitled to a ‘strong presumption of validity’ [citations omitted] so much

so that our review of enactments under the rational basis standard must be ‘a

paradigm of judicial restraint.’" Joel at 1358, citing F.C.C. v. Beach

Communications, Inc., 508 U.S. 307, 314 (1993). The federal Constitution allows

States the right to prescribe the manner by which State elections are conducted.

South v. Peters, 89 F. Supp. 672, 680 (N.D. Ga. 1950)(affirmed in South v. Peters,

339 U.S. 276 (1950) (regarding the Neill Primary Act, which prescribed the vote in

primary elections to be by county units rather than by majority or plurality of the

entire votes cast in the primary).


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      Georgia’s current system of restricting voters to only one vote per candidate

is without question a rational means of conducting elections and has been used in

American election since this country’s inception. While voters have a fundamental

right to vote, they do not have a fundamental right to be guaranteed that their

preferred candidate will be victorious. Not only can Plaintiff not challenge the

rationality behind the rule, but it is unclear whether Plaintiff’s proposed solution to

the problem is feasible or even legal.

             2.     Plaintiff’s Claims Would Fail Even if Georgia’s Voting
                    System Were Subjected to a Strict Scrutiny Analysis.

      Plaintiff’s allegations would not be meritorious even under a strict scrutiny

analysis because he has failed to show how Georgia’s voting system denies any

individual from an “equal opportunity to participate in the political process and

elect candidates of its choice”. Johnson v. DeSoto, 204 F.3d 1335, 1344 (11th Cir.

2000). In order to be successful on his claims, Plaintiff must demonstrate not only

show the lack of equal opportunity to participate in the political process, but must

also demonstrate that this inequality of opportunity results from the voting scheme

and that a racially discriminatory purpose underlies the scheme. Id. at 1345 (citing

Lucas v. Townsend, 967 F.2d 549, 551 (11th Cir. 1992) (emphasis added). To

successfully prove a constitutionally violative election scheme, plaintiffs must

show that “the very purpose of the challenged law, ordinance, or practice that



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produces the adverse effect was a discriminatory one.” Lucas v. Townsend, 783 F.

Supp. 605, 619 (M.D. Ga. 1992) (emphasis added). A law that affects some

groups in a way that is different than others is not necessarily a constitutional

violation. See, e.g., Tigner v. Texas, 310 U.S. 141, 147 (1940). A facially neutral

law "is unconstitutional under the Equal Protection Clause only if [a

discriminatory] impact can be traced to a discriminatory purpose." Personnel

Adm’r of Mass. v. Feeney, 442 U.S. 256, 260 (1979) (emphasis added).

       Georgia’s current system of limiting each voter to one vote per office does

not discriminate against any voter, including Plaintiff. Under Georgia’s system, all

voters are treated equally and all votes are equally weighted. No individual is

denied an “equal opportunity to participate in the political process and elect

candidates of its choice.” Johnson, 204 F. at 1344. While Plaintiff specifically

uses the example of an American Moslem female of Chinese origin, Plaintiff does

not allege that this individual is treated any differently from any other groups of

voters or that the system affects certain groups of voters more severely than other

groups. Plaintiff implicitly acknowledges that voters have a right to vote for any

candidate that they choose. However, voters do not have a fundamental right to be

assured that the candidate of their choice will have a substantial chance of winning

an election, or that certain candidates with socially repugnant views will not be

elected, as Plaintiff fears.



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      Even if being limited to one vote per office could be seen as substantially

infringing on a fundamental right or targeting a protected class, Georgia’s voting

system would still be constitutional. Laws that place substantial burdens on the

right to vote are constitutional as long as they serve a compelling state interest and

are narrowly tailored to further those interests. Duke v. Massey, 87 F.3d 1226,

1234 (11th Cir. 1996); Storer v. Brown, 415 U.S. 724, 730 (1974). Georgia has a

compelling interest in “structuring and regulating elections in order to facilitate

order, honesty and fairness.” Id. Georgia’s election code is comprehensive and

complex, having evolved over time to achieve this purpose. Storer, 415 U.S. at

730. Given the circumstances behind the evolution of each state’s voting system,

the U.S. Supreme Court has noted that it is “very unlikely that all or even a large

portion of the state election laws” would fail to pass constitutional muster. Id.

Thus, since limiting each vote to one vote is a key feature of voting systems

nationwide and worldwide, Plaintiff’s allegations are trivial to the point of

absurdity.

C.    The Georgia Senate and Georgia House of Representatives are not
      Entities Capable of Being Sued under Georgia Law.

      The Georgia House of Representatives and Georgia Senate should be

dismissed as defendants as they are not legal entities capable of being sued.

Capacity to sue or be sued in federal court is determined by state law, except in

limited situations which do not apply in the instant case. Federal Rule of Civil

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Procedure 17(b) provides that an individual’s capacity to defend a suit is to be

determined by the state law of the individual’s domicile and that an organization’s

capacity to defend a suit is to be determined by the laws of the state in which it was

organized. O.C.G.A. § 9-11-17(b) reiterates this proposition. Whether the two

houses of the Georgia General Assembly are capable of being sued, therefore, is to

be determined by the laws of the State of Georgia.

      The Georgia Constitution establishes that “[t]he legislative power of the

state shall be vested in a General Assembly which shall consist of a Senate and a

House of Representatives.” Ga. Const. 1983, Art. III, Sec. I, Para. I. The state

Constitution gives the General Assembly “the power to make all laws not

inconsistent with this Constitution, and not repugnant to the Constitution of the

United States, which it shall deem necessary and proper for the welfare of the

state.” Ga. Const. 1983, Art. III, Sec. VI, Para. I. More specific powers are

enumerated in Article III, Section VI, Paragraph 2. Although they are extensive,

these powers deal only with lawmaking; they do not include the power to bring or

defend lawsuits in either state or federal court.

      In addition, acting as a litigant would be wholly impractical for the House of

Representatives and Senate, which organize each odd-numbered year and are “a

different General Assembly for each two-year period.” Ga. Const. 1983, Art. III,

Sec. IV, Para. I. An organization that, in effect, becomes a different entity every



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two years cannot well serve as party to litigation. Any order entered in regard to

the current General Assembly would not be binding on the new General Assembly

that will convene in January of 1999. The same would be true again in January of

2001.

        Finally, the House of Representatives and Senate are not cohesive bodies

with consistent institutional interests or identities. The House consists of a

minimum of 180 individual Representatives elected from both major political

parties. The Senate consists of a minimum of 56 individual Senators also elected

from both major political parties. Ga. Const. 1983, Art. III, Sec. II, Para. I. These

individual members of each legislative body have diverse interests and agendas

and, therefore, may not be able to present a common defense or agree on common

legal tactics in the face of litigation.

        It is well established as a general premise that courts should not substitute

their social and economic beliefs for the judgment of the legislative bodies who are

elected to pass laws. Kahn v. Shevin, 416 U.S. 351 (1974). It is not the

responsibility of any court, even the United States Supreme Court, to legislate

social policy. See Evans v. Abney, 396 U.S. 435 (1970). Courts may construe the

laws, and strike down laws that conflict with the Constitution, but they may not

substitute their judgment for that of the state legislature or impose the legislative




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judgments of other states on a sister state. Libertarian Party of Florida v. State of

Florida, 710 F.2d 790 (11th Cir. 1983).

      That premise is doubly true when the request is that a federal court intrude

into the sovereignty of the State, substituting its judgment for that of the elected

representatives of the people of Georgia. The principle of federalism is done

violence if this Court accedes to the Plaintiffs’ demand. The Eleventh Circuit has

posited that federalism concerns are based on democratic accountability grounds

and that “federal judges — who have no constituency — have a duty to respect

legitimate policy choices made by those who do.” Teper v. Miller, 82 F.3d 989,

998, n 11 (11th Cir. 1996).

      Federalism concerns in the instant case are very strong and caution against

intervention by the federal judiciary. The Supreme Court has recognized that

“States retain the power to regulate their own elections. Burdick v. Takushi, 504

U.S. 428, 433 (1992); Sugarman v. Dougall, 413 U.S. 634, 647 (1973); Tashjian v.

Republican Party of Connecticut, 479 U.S. 208, 217 (1986). The Constitution

contains no command or prohibition that would require Georgia to allow voters to

vote for more than one candidate per office. Many areas of elections are

completely left up to the states. See Tashjian, 479 U.S. at 223 (recognizing that it

was not the Court’s role “to decide whether the state legislature was acting wisely

in enacting the closed primary system . . ..”); S.J. Groves v. Fulton County, 920


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F.2d 752, 763 (11th Cir. 1989)(federalism prohibits preemption of state laws by

unconstitutional acts of Congress); Williams v. Kemp, 846 F.2d 1276, 1286 (11th

Cir. 1988) (state legislative determination that death penalty had social utility was

entitled to deference because of federalism); Tallahassee Branch of NAACP v.

Leon County, Florida, 827 F.2d 1436 (11th Cir. 1987) (state legislature’s

reapportionment plan entitled to great deference because of concepts of

federalism).

      For the above-described reasons, therefore, the Georgia House of

Representatives and the Georgia Senate are not legal entities capable of being sued.

As a result, both should be dismissed as defendants in the instant lawsuit.

                                      CONCLUSION

      Plaintiff’s Complaint is patently frivolous and his proposed reforms are

unworkable. Even if Plaintiff’s ideas were feasible, his concerns are outside the

purview of the judicial system and should be left to the fact-finding and policy

determinations that are the forté of legislatures. See Baker v. Carr, 369 U.S. 186,

217 (1962). Further, Plaintiff lacks standing to bring suit and his complaints

regarding the current voting system in Georgia are nearly incomprehensible.

Based on the foregoing, Defendant urges this Court to dismiss the action because it

fails to state a claim on which relief can be granted.




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                      Certification of Font and Point Size

      Pursuant to Local Rule 7.1(D), by signature below, counsel certify that the

foregoing pleading was prepared in Times New Roman 14-point font in

compliance with Local Rule 5.1B.

      This 5th day of January, 2007.

                                       Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I do hereby certify that on January 5, 2007, I electronically filed the

foregoing BRIEF IN SUPPORT OF MOTION TO DISMISS, with the Clerk of

Court using the CM/ECF system which will automatically send email notification

of such filing. I also hereby certify that I have mailed by United States Postal

Service the document to the following non-CM/ECF participant:

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